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                                          Exhibit A

                                        Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    PERFORMANCE POWERSPORTS                                      )   Case No. 23-10047 (LSS)
    GROUP INVESTOR, LLC, et al., 1                               )
                                                                 )
                              Debtors.                           )   (Jointly Administered)
                                                                 )
                                                                 )   Related to Docket No.

               ORDER GRANTING DEBTORS’ MOTION FOR ENTRY OF AN
              ORDER AUTHORIZING (A) TEMPORARY ALLOWANCE OF CLAIM
                FOR VOTING PURPOSES AND (B) AMENDMENT OF PLAN VOTE
                     AMOUNT PURSUANT TO BANKRUPTCY RULE 3018

             Upon consideration of the Debtors’ motion (the “Motion”)2 for entry of an order pursuant

to Rule 3018 of the Federal Rules of Bankruptcy Procedure temporarily allowing Walnut Creek’s

claims for plan voting purposes only; and sufficient notice of the Motion having been made; and

it appearing that no other or further notice need be given; and after due deliberation; and sufficient

cause appearing therefor, it is hereby ORDERED:

             1.     The Motion is granted to the extent provided herein.

             2.     The Godfrey Claim is temporarily allowed for Plan voting purposes only pursuant

to Bankruptcy Rule 3018 in the amount of $22,500,000.00.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each of the Debtors’ respective federal
      tax identification numbers, are as follows: Performance Powersports Group Investor, LLC (2068); Performance
      Powersports Group Holdings, Inc. (0823); Performance Powersports Group Purchaser, Inc. (1533); and
      Performance Powersports Group, Inc. (3380). The Debtors’ headquarters and mailing address is: 1775 East
      University Drive, Tempe, Arizona, 85281.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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         3.        The amount of the Godfrey Claim Class 5 ballot with respect to the Plan is hereby

amended to $22,500,000.00 for Plan voting purposes only.

         4.        The Godfrey Claim Class 5 ballot will otherwise remain a vote in opposition to the

Plan.

         5.        This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




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